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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                     Case No. 20-80816-CV-MIDDLEBROOKS/BRANNON

  NIKOL HAVRANEK,

                        Plaintiff,

  vs.

  UNIVERSITY OF FLORIDA
  BOARD OF TRUSTEES,

                    Defendant.
  ________________________________________/

                                     ORDER CLOSING CASE

         THIS CAUSE comes before the Court on Plaintiff’s Notice of Voluntary Dismissal

  Without Prejudice, filed on July 14, 2020. (DE 14). Pursuant to Rule 41(a) of the Federal Rules

  of Civil Procedure, a plaintiff may voluntarily dismiss an action by filing a notice of dismissal

  before the opposing party serves either an answer or a motion for summary judgment. See Fed. R.

  Civ. P. 41(a)(1)(A)(i). Defendant has served neither.

         Accordingly, it is ORDERED AND ADJUDGED that:

          1. This case is DISMISSED WITHOUT PREJUDICE.

          2. The Clerk of Court shall CLOSE THIS CASE.

          3. The Clerk shall also DENY all pending motions AS MOOT.


         SIGNED in Chambers at West Palm Beach, Florida, this 14th day of July, 2020.




                                                             Donald M. Middlebrooks
                                                             United States District Judge
